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          EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                     :
LAUGHLIN KENNEL COMPANY,                             :
                                                     :
                               Plaintiff,            :
        v.                                           : Civil Action No. 16-cv-10738
                                                     :
GATEHOUSE MEDIA INC. DBA                             :
WORCESTER TELEGRAM AND GAZETTE,                      :
                                                     :
                               Defendant.            :
                                                     :

    CERTIFICATE FOR ADMISSION PRO HAC VICE OF MICHAEL J. GRYGIEL

         Pursuant to Local Rule 83.5.3, Michael J. Grygiel certifies as follows:

         1.      I am a shareholder in the law firm Greenberg Traurig, LLP, located at 54 State

Street, 6th Floor, Albany, New York 12207. The telephone number of the firm is (518) 689-

1400. The fax number of the firm is (518) 689-1499.

         2.      I am a member of the Bars of the State of New York, the State of Vermont, and

the District of Columbia. I am also admitted to practice in the United States Court of Appeals

for the Second Circuit and the United States District Court for the Northern District of New

York.

         3.      I am a member of the Bar in good standing in every jurisdiction in which I have

been admitted to practice.

         4.      There are no disciplinary proceedings pending against me in any jurisdiction in

which I am a member of the Bar.

         5.      I have not previously had a pro hac vice admission to this Court (or other

admission for a limited purpose under Local Rule 83.5.3) revoked for misconduct.
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        6.      I have read and agree to comply with the Local Rules of the United States District

Court for the District of Massachusetts.

        Signed under the penalties of perjury this 22nd day of April, 2016,

                                                     /s/ Michael J. Grygiel
                                                     Michael J. Grygiel
                                                     GREENBERG TRAURIG, LLP
                                                     54 State Street, 6th Floor
                                                     Albany, New York 12207
                                                     Tel: (518) 689-1400
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